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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                           )
                                                     )
       Plaintiff,                                    )       No. 6:19-CR-65-REW-HAI
                                                     )
 v.                                                  )
                                                     )                 ORDER
 DANNY E. ELLIOTT,                                   )
                                                     )
       Defendant.                                    )
                                                     )

                                       *** *** *** ***

       After conducting Rule 11 proceedings, see DE 210 (Minute Entry), Judge Ingram

recommended that the undersigned accept Defendant Elliott’s guilty plea and adjudge him guilty

of Count 1 of the Second Superseding Indictment (DE 72). See DE 211 (Recommendation); see

also DE 204-1 (Plea Agreement). Judge Ingram expressly informed Defendant of his right to object

to the recommendation and to secure de novo review from the undersigned. See DE 211 at 3. The

established, 3-day objection deadline has passed, and no party has objected.

       The Court is not required to “review . . . a magistrate’s factual or legal conclusions, under

a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106

S. Ct. 466, 472 (1985); see also United States v. Walters, 638 F.2d 947, 949–50 (6th Cir. 1981)

(holding that a failure to file objections to a magistrate judge’s recommendation waives the right

to appellate review); Fed. R. Crim. P. 59(b)(2)–(3) (limiting de novo review duty to “any

objection” filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).




                                                 1
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        The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

        1. The Court ADOPTS DE 211, ACCEPTS Elliott’s guilty plea, and ADJUDGES him

           guilty of Count 1 of the Second Superseding Indictment (DE 72);

        1. Further, per Judge Ingram’s unopposed recommendation and Defendant’s agreement

           (DE 204-1 ¶ 9), the Court provisionally FINDS that Elliott has an interest in the

           property identified in the operative indictment (DE 72 at 5) and preliminarily

           ADJUDGES Defendant’s interest in such property FORFEITED. Under Criminal

           Rule 32.2, and absent pre-judgment objection, “the preliminary forfeiture order

           becomes final as to” Defendant at sentencing. Fed. R. Crim. P. 32.2(b)(4)(A). The

           Court will further address forfeiture at that time. See id. at (b)(4)(B);

        2. The Court, as to this Defendant only, GENERALLY CONTINUES the jury trial in

           this matter; and

        3. The Court will issue a separate sentencing order.1

        This the 18th day of August, 2020.




1
 At the hearing, Judge Ingram remanded Elliott to custody. See DE 210. The Court, thus, sees no
need to further address detention, at this time.
                                                  2
